Case 4:21-cv-11312-MFL-CI ECF No. 38, PageID.472 Filed 06/01/22 Page 1 of 67




                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

STEVEN PUTRUS and
ALEXANDER PUTRUS,

      Plaintiffs,                             Case No.: 2:21-cv-11312
                                              Hon. Matthew Leitman
-v-                                           Magistrate Judge Curtis Ivy Jr.

WILLIAM MORRISON,
RADAMES BENITEZ, JOI GAINES,
QUINTON JACKSON,
MICHAEL MOSLEY, KEVIN ZAROSLY
DAVID MEADOWS, LAMAR WILLIAMS,
DETROIT POLICE OFFICER D. STEWART,
and PHILIP RODRIGUEZ, in Their Individual
Capacities, and CITY OF DETROIT,

      Defendants.


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__________________________________________________________________
Case 4:21-cv-11312-MFL-CI ECF No. 38, PageID.473 Filed 06/01/22 Page 2 of 67




    FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL

      Plaintiffs, Steven Putrus and Alexander Putrus, by their attorneys,

Giroux Trial Attorneys, P.C., for their First Amended Complaint against the

above-named Defendants, states as follows:

                        JURISDICTION AND VENUE

      1.    This is a civil action for money damages brought pursuant to 42

U.S.C. §§ 1983, 1985, 1988, and the Fourth Amendment to the United

States Constitution against Defendants, William Morrison, Radames

Benitez, Joi Gaines, Quinton Jackson, Michael Mosley, Kevin Zarosly,

David Meadows, Lamar Wiliams, Detroit Police Officer D. Stewart, and

Philip Rodriguez, in their individual capacities, as well as the City of Detroit.

      2.    This court has jurisdiction over Plaintiffs’ claims presented in

this Complaint based upon the laws of the United States pursuant to 28

U.S.C. §§ 1331 and 1343.

      3.    Venue lies in the Eastern District of Michigan pursuant to 28

U.S.C. §1391(b). The unlawful actions alleged in this Complaint took place

within the City of Detroit, in Wayne County, which is located within the

Southern Division of the Eastern District of Michigan.

      4.    The amount in controversy exceeds Seventy-Five Thousand

($75,000.00) Dollars, excluding interest, costs and attorney fees.


                                        1
Case 4:21-cv-11312-MFL-CI ECF No. 38, PageID.474 Filed 06/01/22 Page 3 of 67




                               PARTIES

      5.    The Plaintiff, Steven Putrus, is, and at all times relevant to this

action was, a resident of the Township of West Bloomfield, County of

Oakland, State of Michigan.

      6.    The Plaintiff, Alexander Putrus, is, and at all times relevant to

this action was, a resident of the Township of West Bloomfield, County of

Oakland, State of Michigan.

      7.    Upon information and belief, Defendant, William Morrison, is a

citizen of the State of Michigan and was, at all times relevant to this action,

employed as a law enforcement officer by the City of Detroit Police

Department and was assigned to the Narcotics Enforcement Section/Major

Violators Unit.

      8.    Upon information and belief, Defendant, Radames Benitez, is a

citizen of the State of Michigan and was, at all times relevant to this action,

employed as a law enforcement officer by the City of Detroit Police

Department and was assigned to the Narcotics Enforcement Section/Major

Violators Unit.

      9.    Upon information and belief, Defendant, Joi Gaines, is a citizen

of the State of Michigan and was, at all times relevant to this action,

employed as a law enforcement officer by the City of Detroit Police


                                       2
Case 4:21-cv-11312-MFL-CI ECF No. 38, PageID.475 Filed 06/01/22 Page 4 of 67




Department and was assigned to the Narcotics Enforcement Section/Major

Violators Unit.

      10.   Upon information and belief, Defendant, Quinton Jackson, is a

citizen of the State of Michigan and was, at all times relevant to this action,

employed as a law enforcement officer by the City of Detroit Police

Department and was assigned to the Narcotics Enforcement Section/Major

Violators Unit.

      11.   Upon information and belief, Defendant, Michael Mosley, is a

citizen of the State of Michigan and was, at all times relevant to this action,

employed as a law enforcement officer by the City of Detroit Police

Department and was assigned to the Narcotics Enforcement Section/Major

Violators Unit.

      12.   Upon information and belief, Defendant, Kevin Zarosly, is a

citizen of the State of Michigan and was, at all times relevant to this action,

employed as a law enforcement officer by the City of Detroit Police

Department and was assigned to the Narcotics Enforcement Section/Major

Violators Unit.

      13.   Upon information and belief, Defendant, David Meadows, is a

citizen of the State of Michigan and was, at all times relevant to this action,

employed as a law enforcement officer by the City of Detroit Police


                                       3
Case 4:21-cv-11312-MFL-CI ECF No. 38, PageID.476 Filed 06/01/22 Page 5 of 67




Department and was assigned to the Narcotics Enforcement Section/Major

Violators Unit.

      14.   Upon information and belief, Defendant, Lamar Williams, is a

citizen of the State of Michigan and was, at all times relevant to this action,

employed as a law enforcement officer by the City of Detroit Police

Department and was assigned to the Narcotics Enforcement Section/Major

Violators Unit.

      15.   Upon information and belief, Defendant, Officer D. Stewart

(#1539), is a citizen of the State of Michigan and was, at all times relevant

to this action, employed as a law enforcement officer by the City of Detroit

Police Department.

      16.   Upon information and belief, Defendant, Philip Rodriguez, is a

citizen of the State of Michigan and was, at all times relevant to this action,

employed as a law enforcement officer by the City of Detroit Police

Department assigned to the Drug Enforcement Administration Task Force.

      17.   At all times relevant to this lawsuit, Defendant City of Detroit

(“The City”) was a municipal corporation, duly organized in carrying on

governmental functions in the City of Detroit, in Wayne County, Michigan

      18.   At the time of the events alleged in this Complaint, Defendants,

William Morrison, Radames Benitez, Joi Gaines, Quinton Jackson, Michael


                                       4
Case 4:21-cv-11312-MFL-CI ECF No. 38, PageID.477 Filed 06/01/22 Page 6 of 67




Mosley, Kevin Zarosly, David Meadows, Lamar Williams, Detroit Police

Officer D. Stewart, and Philip Rodriguez, were at all times acting in their

individual capacities within the course and scope of their employment as

City of Detroit Police Officers and under color of law.

                      FACTUAL ALLEGATIONS

                        Plaintiffs’ Businesses

      19.   At all times relevant, Plaintiffs leased a business condominium

located at 11935 E. Warren Avenue, Detroit, Michigan, which was located

in a commercial strip mall known as Park Side Plaza.

      20.   At all times relevant, Plaintiff Steven Putrus operated a check

cashing business known as Cash Point Check Cashing Inc. at 11935 E.

Warren Avenue, Detroit, Michigan.

      21.    At all times relevant, Plaintiff Alexander Putrus operated a

cellular phone business known as My Wireless #1012 Inc. at 11935 E.

Warren Avenue, Detroit, Michigan.

      22.   At all times relevant, Plaintiff Alexander Putrus’ business sold

cellular phones, cellular phone accessories, and accepted bill payments for

cellular phone services.

      23.   At all times relevant, there were large, clear windows across the

entire storefront of 11935 E. Warren Avenue as depicted below:


                                       5
Case 4:21-cv-11312-MFL-CI ECF No. 38, PageID.478 Filed 06/01/22 Page 7 of 67




     24.   At all times relevant, there were neon-lit signs on the storefront

of 11935 E. Warren Avenue that stated “Phone Accessories”, “Income Tax

Checks”, “Check Cashing”, “Bill Payment Center” as depicted in the

photograph in paragraph 23, supra.

     25.   At all times relevant, there were signs for Virgin Mobile and

Boost Mobile on the front door of 11935 E. Warren Avenue as depicted

below:




                                     6
Case 4:21-cv-11312-MFL-CI ECF No. 38, PageID.479 Filed 06/01/22 Page 8 of 67




                             Search Warrants

     26.   On or about October 22, 2018, Defendant Morrison swore to

falsified facts in an affidavit in support of a search warrant for several

locations, including Plaintiffs’ businesses’ location at 11935 E. Warren

Avenue, Detroit, Michigan, as well as their personal residences in West

Bloomfield, Michigan, for the seizure of various items, including but not

limited to “[c]ontrolled substances, imitation controlled substances,

suspected narcotics proceeds, firearms, items connected to the sales,

possession,   manufacture,    use,   storage,   distribution,   transportation,

delivery, or concealment of controlled substances”, as well as [b]ooks,

records and tally sheets indicating the sales of controlled substances.”



                                      7
Case 4:21-cv-11312-MFL-CI ECF No. 38, PageID.480 Filed 06/01/22 Page 9 of 67




     27.     Defendant Morrison’s October 22, 2018 affidavit included

allegations that, on September 25, 2018, an undercover Detroit Police

Officer purchased marijuana from 11931 E. Warren Avenue, which was a

unit of the Park Side Plaza strip mall that had no visible address, no signs,

no markings, and appeared to be vacant.

     28.     Defendant Morrison’s October 22, 2018 affidavit included

allegations that, on September 26, 2018, a search warrant was executed

on the unmarked unit at 11931 E. Warren Avenue, which led to the

confiscation of what was alleged to be marijuana and several ecstasy pills,

as well as the arrest of Antwan Harper for Delivery of a Controlled

Substance.

     29.     Defendant Morrison’s October 22, 2018 affidavit included

allegations that, on October 8, 2018, Defendant Morrison observed

“suspected buyers” enter and exit the unmarked unit at 11931 E. Warren

Avenue, observed Antwan Harper open the door of 11931 E. Warren

Avenue to greet the persons who entered, observed Antwan Harper “walk

back and forth” between the unmarked unit at 11931 E. Warren Avenue

and the Plaintiffs’ unit next door at 11935 E. Warren Avenue, and observed

two persons enter the Plaintiffs’ unit at 11935 E. Warren Avenue before

entering the unmarked unit at 11931 E. Warren Avenue.


                                     8
Case 4:21-cv-11312-MFL-CI ECF No. 38, PageID.481 Filed 06/01/22 Page 10 of 67




      30.   Defendant Morrison’s October 22, 2018 affidavit included false

allegations from Defendant Benitez that an unregistered, confidential

informant stated that “the check cashing unit” at 11935 E. Warren Avenue

had been selling heroin for years and that the confidential informant

witnessed a person purchase heroin from a heavy-set Arabic male that was

behind the counter at that location.

      31.   Defendant Morrison’s October 22, 2018 affidavit included

allegations that, on October 17, 2018, Defendant Morrison witnessed an

unidentified, black female in her 40’s enter the Plaintiff’s business at 11935

E. Warren Avenue, remain inside for “a minute or so” and then leave, which

Defendant Morrison speculated was an insufficient amount of time for “a

check to be verified and cashed.”

      32.   Defendant Morrison’s October 22, 2018 affidavit included

allegations that, on October 18, 2018, Defendant Morrison witnessed an

unidentified, black male in his 60’s enter the Plaintiff’s business at 11935 E.

Warren Avenue, remain inside for “only 30 seconds or so” and then leave,

which Defendant Morrision speculated was an insufficient amount of time to

“process a check.”

      33.   Defendant Morrison intentionally omitted from his October 22,

2018 affidavit that there were no undercover narcotics purchases at 11935


                                       9
Case 4:21-cv-11312-MFL-CI ECF No. 38, PageID.482 Filed 06/01/22 Page 11 of 67




E. Warren Avenue.

     34.    Defendant Morrison intentionally omitted from his October 22,

2018 affidavit that there were no observations of any hand-to-hand drug

transactions at 11935 E. Warren Avenue.

     35.    Defendant Morrison intentionally omitted from his October 22,

2018 affidavit that there was a cellular phone business at 11935 E. Warren

Avenue.

     36.    Defendant Morrison intentionally omitted from his October 22,

2018 affidavit that the cellular phone business at 11935 E. Warren Avenue

sold cellular phone accessories.

     37.    Defendant Morrison intentionally omitted from his October 22,

2018 affidavit that the businesses at 11935 E. Warren Avenue accepted bill

payments.

     38.    Defendant Morrison intentionally omitted from his October 22,

2018 affidavit that there was an ATM machine located inside 11935 E.

Warren Avenue.

     39.    Defendant Morrison’s October 22, 2018 affidavit intentionally

omitted any facts that would justify short business transactions at 11935 E.

Warren Avenue, such as purchases of cellular phone accessories, bill

payments, or use of the ATM machine.


                                     10
Case 4:21-cv-11312-MFL-CI ECF No. 38, PageID.483 Filed 06/01/22 Page 12 of 67




      40.   Defendant Morrison intentionally omitted from his October 22,

2018 affidavit that the nature of a check cashing business necessitates that

there be substantial sums of cash on the premises.

      41.   Defendant Morrison intentionally omitted from his October 22,

2018 affidavit that there was a large Section 8 housing complex across the

street from 11935 E. Warren Avenue.

      42.   Defendant Morrison intentionally omitted from his October 22,

2018 affidavit that it is customary for low-income residents to frequent

check cashing businesses to send bill payments, to cash paychecks, and to

cash government-issued checks, all of which require the check cashing

business to have substantial sums of cash on the premises.

      43.   Defendant Morrison intentionally omitted from his October 22,

2018 affidavit that, at all times relevant, Plaintiff Steven Putrus possessed a

current registry card for the Michigan Medical Marihuana Program, which

was validly issued by the Michigan Department of Licensing and

Regulatory Affairs.

      44.   Defendant Morrison’s October 22, 2018 affidavit falsely claimed

that there was “probable cause that controlled substances and narcotics

proceeds will be found in each of the four listed target locations”, which

included Plaintiffs’ business unit at 11935 E. Warren Avenue, each of their


                                      11
Case 4:21-cv-11312-MFL-CI ECF No. 38, PageID.484 Filed 06/01/22 Page 13 of 67




personal residences, as well as the unmarked unit at 11931 E. Warren

Avenue.

     45.   In swearing out his October 22, 2018 affidavit, Defendant

Morrison stated deliberate falsehoods, showed reckless disregard for the

truth and omitted information, all of which was material and necessary to

the finding of probable cause.

     46.   As a result of Defendant Morrison’s swearing to the October 22,

2018 affidavit that was based on deliberate falsehood and recklessly

disregarded the truth, a search warrant was issued by a 36th District Court

Magistrate Judge for the search of several locations, including Plaintiffs’

business unit at 11935 E. Warren Avenue and their personal residences.

             October 22, 2018 Raid By Major Violators Unit

     47.   On October 22, 2018, the search warrant was executed by the

individual Defendants and other members of the Detroit Police Narcotics

Enforcement Section/Major Violators Unit.

     48.   Defendant Meadows was the Raid Commander and Officer in

Charge of the October 22, 2018 search warrant execution.

     49.   During the October 22, 2018 search warrant execution at 11935

E. Warren, Defendant Benitez was wearing a body camera that recorded

video and audio.


                                     12
Case 4:21-cv-11312-MFL-CI ECF No. 38, PageID.485 Filed 06/01/22 Page 14 of 67




      50.   During the October 22, 2018 search warrant execution at 11935

E. Warren, Defendant Benitez made multiple statements that were

recorded on his video/audio equipment that the alleged controlled

substances located in the business unit were simply “mix” and/or “mixture.”

      51.      During the October 22, 2018 search warrant execution at

11935 E. Warren, Defendant Benitez’s video/audio equipment recorded

statements from an unknown officer that the alleged controlled substances

located in the business unit were “cut” (i.e. “cutting agent”).1

      52.   During the October 22, 2018 search warrant execution at 11935

E. Warren, Defendant Benitez’s video/audio equipment recorded Benitez

asking another officer about the results of the field testing of the

mix/mixture/cut substances and that officer responded, “inconclusive.”

Benitez then stated, “Well, we knew.”

      53.   During the October 22, 2018 search warrant execution at 11935

E. Warren, Defendant Morrison was wearing a body camera that recorded

video and audio.

      54.   During the October 22, 2018 search warrant execution at 11935

E. Warren, Defendant Morrison made statements that were recorded on his


1
  A cutting agent is a chemical used to "cut" (dilute or adulterate)
recreational drugs with something less expensive than the drug itself.
https://www.bbc.com/news/magazine-11177126

                                       13
Case 4:21-cv-11312-MFL-CI ECF No. 38, PageID.486 Filed 06/01/22 Page 15 of 67




video/audio equipment that the alleged controlled substances located in the

business unit were “cut.”

      55.    During the October 22, 2018 search warrant execution at 11935

E. Warren, Defendant Gaines was wearing a body camera that recorded

video and audio.

      56.    During the October 22, 2018 search warrant execution at 11935

E. Warren, Defendant Gaines made statements that were recorded on her

video/audio equipment that the alleged controlled substances located in the

business unit were “nothing but cut . . . .That’s all it is, is cut.”

      57.    During the October 22, 2018 search warrant execution at 11935

E. Warren, Defendant Meadows was wearing a body camera that recorded

video and audio.

      58.    During the October 22, 2018 search warrant execution at 11935

E. Warren, Defendant Meadows made statements that were recorded on

his video/audio equipment that the alleged controlled substances located in

the business unit were “cut.”

      59.    During the October 22, 2018 search warrant execution at 11935

E. Warren, Defendant Zarosly was wearing a body camera that recorded

video and audio.

      60.    During the October 22, 2018 search warrant execution at 11935


                                         14
Case 4:21-cv-11312-MFL-CI ECF No. 38, PageID.487 Filed 06/01/22 Page 16 of 67




E. Warren, Defendant Zarosly made statements that were recorded on his

video/audio equipment that the alleged controlled substances located in the

business unit were “cut” and said to other officers, “You know it’s cut, man.”

    Defendants’ Deliberate Falsehoods Regarding the “Evidence”

      61.   Defendant Meadows signed the October 22, 2018 search

warrant tabulation and return for 11935 E. Warren, which listed the

following items that were seized:




      62.   Based on his training and experience as an officer working with

the City’s Narcotics Enforcement Section/Major Violators Unit, Defendant

Meadows knew or should have known that the items that he falsely alleged

to be heroin and cocaine in the October 22, 2018 search warrant tabulation

and return for 11935 E. Warren were not actually controlled substances and

were actually just cutting agents, which are not illegal substances.

      63.   On October 22, 2018, Defendant Gaines completed a Request

                                      15
Case 4:21-cv-11312-MFL-CI ECF No. 38, PageID.488 Filed 06/01/22 Page 17 of 67




for Laboratory Service for the following items that were allegedly seized

from 11935 E. Warren:




      64.   The marijuana listed on Defendant Gaines’ Request for

Laboratory Service was not listed on the October 22, 2018 search warrant

tabulation and return for 11935 E. Warren.

      65.   Based on her training and experience as an officer working with

the City’s Narcotics Enforcement Section/Major Violators Unit, and as she

stated during the raid, Defendant Gaines knew or should have known that

the items that she falsely alleged to be cocaine and heroin in her Request

for Laboratory Service were not actually controlled substances and were

actually just cutting agents, which are not illegal substances.

      66.   In completing her Request for Laboratory Service, Defendant

Gaines stated deliberate falsehoods, showed reckless disregard for the

truth and omitted information, all of which was material to the arrest,

detention and indictments of Plaintiffs.

      67.   On October 22, 2018, Defendant Stewart allegedly completed

the preliminary analysis of the items submitted for analysis by Defendant


                                      16
Case 4:21-cv-11312-MFL-CI ECF No. 38, PageID.489 Filed 06/01/22 Page 18 of 67




Gaines and maintained that the results were as follows:




     68.   Defendant Stewart’s preliminary analysis did not indicate that

any of the items submitted by Defendant Gaines tested positive for

marijuana or heroin.

     69.   On October 22, 2018, Defendant Gaines completed a second

Request for Laboratory Service for the following items that were allegedly

seized from 11935 E. Warren:




     70.   The marijuana listed on Defendant Gaines’ second Request for

Laboratory Service was not listed on the October 22, 2018 search warrant

tabulation and return for 11935 E. Warren.

     71.   On October 22, 2018, Defendant Stewart allegedly completed

the preliminary analysis of the second list items submitted for analysis by

Defendant Gaines and maintained that the results were as follows:




                                     17
Case 4:21-cv-11312-MFL-CI ECF No. 38, PageID.490 Filed 06/01/22 Page 19 of 67




     72.   On October 22, 2018, Defendant Jackson completed a Request

for Laboratory Service for the following items that were allegedly seized

from 11935 E. Warren:




     73.   None of the items listed on Defendant Jackson’s Request for

Laboratory Service were listed on the October 22, 2018 search warrant

tabulation and return for 11935 E. Warren.

     74.   On October 22, 2018, Defendant Stewart allegedly completed

the preliminary analysis of the items submitted for analysis by Defendant

Jackson and maintained that the results were as follows:




     75.   On October 22, 2018, Defendant Mosley completed a Request

                                     18
Case 4:21-cv-11312-MFL-CI ECF No. 38, PageID.491 Filed 06/01/22 Page 20 of 67




for Laboratory Service for the following items that were allegedly seized

from 11935 E. Warren:




     76.   None of the items listed on Defendant Mosley’s Request for

Laboratory Service were listed on the October 22, 2018 search warrant

tabulation and return for 11935 E. Warren.

     77.   On October 22, 2018, Defendant Stewart allegedly completed

the preliminary analysis of the items submitted for analysis by Defendant

Mosley and maintained that the results were as follows:




     78.   On October 22, 2018, Defendant Zarosly completed a Request

for Laboratory Service for the following items that were allegedly seized

from 11935 E. Warren:




                                     19
Case 4:21-cv-11312-MFL-CI ECF No. 38, PageID.492 Filed 06/01/22 Page 21 of 67




      79.   None of the items listed on Defendant Zarosly’s Request for

Laboratory Service were listed on the October 22, 2018 search warrant

tabulation and return for 11935 E. Warren.

      80.   Based on his training and experience as an officer working with

the City’s Narcotics Enforcement Section/Major Violators Unit, Defendant

Zarosly knew or should have known that none of the items listed in his

Request for Laboratory Service were heroin, cocaine or MDMA and were

actually just cutting agents, which are not illegal substances.

      81.   On October 22, 2018, Defendant Stewart allegedly completed

the preliminary analysis of the items submitted for analysis by Defendant

Zarosly and maintained that the results were as follows:




                                      20
Case 4:21-cv-11312-MFL-CI ECF No. 38, PageID.493 Filed 06/01/22 Page 22 of 67




     82.   On October 22, 2018, Defendant Zarosly completed a second

Request for Laboratory Service for the following items that were allegedly

seized from 11935 E. Warren:




     83.   None of the items listed on Defendant Zarosly’s second

Request for Laboratory Service were listed on the October 22, 2018 search

warrant tabulation and return for 11935 E. Warren.

     84.   On October 22, 2018, Defendant Stewart allegedly completed

the preliminary analysis of the items submitted for analysis by Defendant

Zarosly and maintained that the results were as follows:




                                     21
Case 4:21-cv-11312-MFL-CI ECF No. 38, PageID.494 Filed 06/01/22 Page 23 of 67




      85.   On October 22, 2018, Defendant Zarosly completed a third

Request for Laboratory Service for the following items that were allegedly

seized from 11935 E. Warren:




      86.   The majority of the items listed on Defendant Zarosly’s third

Request for Laboratory Service were not listed on the October 22, 2018

search warrant tabulation and return for 11935 E. Warren.

      87.   Based on his training and experience as an officer working with

the City’s Narcotics Enforcement Section/Major Violators Unit, Defendant

Zarosly knew or should have known that the items that he falsely alleged to

be controlled substances in his third Request for Laboratory Service were

not actually controlled substances and were actually just cutting agents,

which are not illegal substances.

      88.   In completing each of his Requests for Laboratory Service,

Defendant Zarosly stated deliberate falsehoods, showed reckless disregard

for the truth and omitted information, all of which was material to the arrest,

                                      22
Case 4:21-cv-11312-MFL-CI ECF No. 38, PageID.495 Filed 06/01/22 Page 24 of 67




detention and indictments of Plaintiffs.

      89.   On October 22, 2018, Defendant Stewart allegedly completed

the preliminary analysis of the items submitted for analysis by Defendant

Zarosly and maintained that the results were as follows:




      90.   On October 22, 2018, Defendant Benitez completed a Request

for Laboratory Service for the following items that were allegedly seized

from 11935 E. Warren:




      91.   Based on his training and experience as an officer working with

the City’s Narcotics Enforcement Section/Major Violators Unit, Defendant

Benitez knew or should have known that none of the items listed in his

Request for Laboratory Service were heroin, cocaine or MDMA and were

actually just cutting agents, which are not illegal substances.


                                      23
Case 4:21-cv-11312-MFL-CI ECF No. 38, PageID.496 Filed 06/01/22 Page 25 of 67




      92.   On October 22, 2018, Defendant Stewart allegedly completed

the preliminary analysis of the items submitted for analysis by Defendant

Benitez and maintained that the results were as follows:




      93.   On October 22, 2018, Defendant Benitez completed a second

Request for Laboratory Service for the following items that were allegedly

seized from 11935 E. Warren:




      94.   Based on his training and experience as an officer working with

the City’s Narcotics Enforcement Section/Major Violators Unit, Defendant

Benitz knew or should have known that none of the items listed in his

second Request for Laboratory Service were heroin, cocaine or MDMA and

were actually just cutting agents, which are not illegal substances.



                                      24
Case 4:21-cv-11312-MFL-CI ECF No. 38, PageID.497 Filed 06/01/22 Page 26 of 67




      95.   In completing each of his Requests for Laboratory Service,

Defendant Benitez stated deliberate falsehoods, showed reckless disregard

for the truth and omitted information, all of which was material to the arrest,

detention and indictments of Plaintiffs.

      96.   On October 22, 2018, Defendant Stewart allegedly completed

the preliminary analysis of the items submitted for analysis by Defendant

Benitez and maintained that the results were as follows:




      97.   Based on his training and experience as an officer working with

the City’s Narcotics Enforcement Section/Major Violators Unit, Defendant

Stewart knew or should have known that none of the items listed in the

aforementioned Requests for Laboratory Service submitted by the other

Defendant officers were heroin, cocaine or MDMA and were actually just

cutting agents, which are not illegal substances.

      98.   In completing each of the preliminary analysis reports,

Defendant    Stewart   stated   deliberate   falsehoods, showed reckless

                                      25
Case 4:21-cv-11312-MFL-CI ECF No. 38, PageID.498 Filed 06/01/22 Page 27 of 67




disregard for the truth and omitted information, all of which was material to

the arrest, detention and indictments of Plaintiffs.

      99.   On October 22, 2018, Defendant Meadows completed a 24

Hour Information Sheet on which he listed that the following controlled

substances were confiscated during the October 22, 2018 execution of the

search warrant at 11935 E. Warren:




      100. Not all of the items listed by Defendant Meadows on the 24

Hour Information Sheet were included on the October 22, 2018 search

warrant tabulation and return for 11935 E. Warren that was completed by

Defendant Meadows.

      101. Based on his training and experience as an officer working with

the City’s Narcotics Enforcement Section/Major Violators Unit, Defendant

Meadows knew or should have known that the items that he falsely alleged

to be controlled substances were not actually controlled substances and

were actually just cutting agents, which are not illegal substances.

      102. In completing the 24 Hour Information Sheet, Defendant

Meadows stated deliberate falsehoods, showed reckless disregard for the


                                       26
Case 4:21-cv-11312-MFL-CI ECF No. 38, PageID.499 Filed 06/01/22 Page 28 of 67




truth and omitted information, all of which was material to the arrest,

detention and indictments of Plaintiffs.

      103. On October 23, 2018, Defendant Williams accepted custody

and control of the evidence that was seized and recorded by Defendant

Zarosly during the October 22, 2018 execution of the search warrant at

11935 E. Warren.

      104. Based on his training and experience as an officer working with

the City’s Narcotics Enforcement Section/Major Violators Unit, Defendant

Williams knew or should have known that the items that Defendant Zarosly

falsely alleged to be controlled substances were not actually controlled

substances and were actually just cutting agents, which are not illegal

substances.

      105. On or about October 23, 2018, Defendant Morrison swore to

falsified facts in an affidavit in support of a search warrant for Plaintiffs'

prisoner property bags and Plaintiffs’ businesses’ location at 11935 E.

Warren Avenue, Detroit, Michigan, seeking to seize and search any cellular

phones, computers, digital video recorder or electronic devices for

photographs, video, call logs, text messages or other data as part of a

narcotics investigation.

      106. Defendant Morrison’s October 23, 2018 affidavit falsely stated


                                      27
Case 4:21-cv-11312-MFL-CI ECF No. 38, PageID.500 Filed 06/01/22 Page 29 of 67




that, on October 22, 2018, Plaintiffs “were found to be in possession of a

total of approximately 12 kilograms of suspected cocaine, heroin and

fentanyl and over $400,000 in narcotics proceeds.”

     107. Defendant Morrison knew or should have known that the items

that he falsely alleged to be cocaine, heroin and fentanyl were not actually

controlled substances and were actually just cutting agents, which are not

illegal substances, because, as he stated in his October 23, 2018 affidavit,

he “has received numerous hours of training in narcotics identification”, “is

also familiar with controlled substances in their various forms, packaging

and distribution tactics” based on years of field experience, and “is able to

identify such controlled substances by sight.”

     108. In swearing out his October 23, 2018 affidavit, Defendant

Morrison stated deliberate falsehoods, showed reckless disregard for the

truth and omitted information, all of which was material to the finding of

probable cause.

     109. On October 24, 2018, Defendant Zarosly prepared a Case

Supplemental Report in which he listed the following items that he allegedly

confiscated from 11935 E. Warren:




                                     28
Case 4:21-cv-11312-MFL-CI ECF No. 38, PageID.501 Filed 06/01/22 Page 30 of 67




      110. Many of the items listed on Defendant Zarosly’s Case

Supplemental Report were not listed on the search warrant tabulation and

return for 11935 E. Warren.

      111. Based on his training and experience as an officer working with

the City’s Narcotics Enforcement Section/Major Violators Unit, Defendant

Zarosly knew or should have known that the items that he falsely alleged to

be MDMA, cocaine and heroin were not actually controlled substances and

were actually just cutting agents, which are not illegal substances.

      112. In completing his Case Supplemental Report, Defendant

Zarosly stated deliberate falsehoods, showed reckless disregard for the

truth and omitted information, all of which was material to the arrest,

detention and indictments of Plaintiffs.

      113. On October 24, 2018, Defendant Mosley prepared a Case

Supplemental Report in which he stated that he allegedly confiscated “8

                                      29
Case 4:21-cv-11312-MFL-CI ECF No. 38, PageID.502 Filed 06/01/22 Page 31 of 67




storage bags of marijuana and 3 vacuum sealed bags of marijuana” from

11935 E. Warren.

      114. None of the items listed on Defendant Mosley’s Case

Supplemental Report were listed on the search warrant tabulation and

return for 11935 E. Warren.

      115. On October 24, 2018, Defendant Benitez prepared a Case

Supplemental Report in which he listed the following items that he allegedly

confiscated from 11935 E. Warren:




      116. Many of the items listed on Defendant Benetiz’s Case

Supplemental Report were not listed on the search warrant tabulation and

return for 11935 E. Warren.

      117. Based on his training and experience as an officer working with

the City’s Narcotics Enforcement Section/Major Violators Unit, Defendant

Benitez knew or should have known that the items that he falsely alleged to

be MDMA and cocaine were not actually controlled substances and were

actually just cutting agents, which are not illegal substances.


                                      30
Case 4:21-cv-11312-MFL-CI ECF No. 38, PageID.503 Filed 06/01/22 Page 32 of 67




      118. In completing his Case Supplemental Report, Defendant

Benitez stated deliberate falsehoods, showed reckless disregard for the

truth and omitted information, all of which was material to the arrest,

detention and indictments of Plaintiffs.

      119. On October 24, 2018, Defendant Gaines prepared a Case

Supplemental Report in which she listed the following items that she

allegedly confiscated from 11935 E. Warren: “1 Red Swisher Sweet box

containing 2 knotted bags of marijuana, 7 knotted bags containing cocaine,

1 zip lock containing cocaine and 2 knotted bags containing heroin and 1

digital scale with cocaine residue on the scale . . .”

      120. The marijuana listed on Defendant Gaines’ Case Supplemental

Report was not listed on the search warrant tabulation and return for 11935

E. Warren.

      121. Based on her training and experience as an officer working with

the City’s Narcotics Enforcement Section/Major Violators Unit, Defendant

Gaines knew or should have known that the items that she falsely alleged

to be cocaine and heroin were not actually controlled substances and were

actually just cutting agents, which are not illegal substances.

      122. In completing her Case Supplemental Report, Defendant

Gaines stated deliberate falsehoods, showed reckless disregard for the


                                       31
Case 4:21-cv-11312-MFL-CI ECF No. 38, PageID.504 Filed 06/01/22 Page 33 of 67




truth and omitted information, all of which was material to the arrest,

detention and indictments of Plaintiffs.

      123. On October 24, 2018, Defendant Jackson prepared a Case

Supplemental Report in which he listed items that he allegedly confiscated

from 11935 E. Warren, including the following: “1 black crate with yellow top

containing 8 large knotted bags of marijuana, 3 large zip locks containing

marijuana and 1 vacuum sealed bag containing marijuana . . .”

      124. None of the items listed on Defendant Jackson’s Case

Supplemental Report were listed on the search warrant tabulation and

return for 11935 E. Warren.

             Federal Indictment and Forfeiture Proceedings

      125. On October 24, 2018, a federal criminal complaint was issued

against Plaintiffs for conspiracy to possess with intent to distribute and to

distribute controlled substances in violation of 21 U.S.C §§ 841(a)(1), 846.

      126. The federal criminal complaint was supported by the October

24, 2018 affidavit of Defendant Philip Rodriguez, who attested that he

spoke with Defendant Morrison on October 23, 2018 and Defendant

Morrison stated that he “received information from a fellow narcotics officer

that 11935 E. Warren Avenue has been selling heroin for years and that a

Detroit Police Department Confidential Informant had recently been inside


                                      32
Case 4:21-cv-11312-MFL-CI ECF No. 38, PageID.505 Filed 06/01/22 Page 34 of 67




the location and observed heroin being sold from behind the counter by a

heavy-set Arabic male.”

      127. The above statement made by Defendant Morrison to

Defendant Rodriguez was based on Defendants Morrison’s and Benitez’s

deliberate falsehoods and reckless disregard for the truth.

      128. Defendant Rodriguez’s October 24, 2018 affidavit also included

Defendant Morrison’s allegations that he observed several suspected

narcotic transactions at 11935 E. Warren Avenue, which was a deliberate

falsehood and a reckless disregard for the truth.

      129. Defendant Rodriguez’s October 24, 2018 affidavit stated that,

on October 22, 2018, a search warrant was executed at 11935 E. Warren in

Detroit at which time they seized various alleged narcotic substances,

including “7,495.2 grams of cocaine base (later field tested positive for

cocaine);” “2,270.2 grams of heroin (later field tested positive for heroin);”

and “5,401.3 grams of MDMA (later field tested positive for MDMA)”

      130. Based on his training and experience as an officer assigned to

the Drug Enforcement Administration Task Force, Defendant Rodriguez

knew or should have known that the items that he falsely alleged to be

controlled substances were not actually controlled substances and were

actually just cutting agents, which are not illegal substances.


                                      33
Case 4:21-cv-11312-MFL-CI ECF No. 38, PageID.506 Filed 06/01/22 Page 35 of 67




      131. Defendant Rodriguez’s October 24, 2018 affidavit stated that he

believed that probable cause existed that Plaintiffs knowingly and

intentionally conspired to distribute and to possess with intent to distribute

controlled substances, namely 7.5 gross kilograms of cocaine base; 2.27

kilograms of heroin; and 5.4 gross kilograms of MDMA-Ecstasy, in violation

of Title 21, United States Code, Sections 841(a)(1) and 846, which was a

deliberate falsehood and a reckless disregard for the truth.

      132. A Detention hearing was held on November 1, 2018 before

United States District Court Magistrate Judge Mona Majzoub.

      133. As a direct and proximate result of Defendants’ deliberate

falsehoods and reckless disregard for the truth that the substances that

they seized from 11935 E. Warren Avenue were cocaine, heroin, and

MDMA (ecstasy), Magistrate Judge Majzoub concluded that the street

value of the alleged narcotics was so substantial that bond was not

warranted and ordered that Plaintiffs be detained.

      134. As a direct and proximate result of Defendants’ deliberate

falsehoods and reckless disregard for the truth, an indictment was filed

against Plaintiffs on November 13, 2018 charging Plaintiffs with (1)

conspiracy to possess with intent to distribute and to distribute controlled

substances in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A)(ii) and 846;


                                     34
Case 4:21-cv-11312-MFL-CI ECF No. 38, PageID.507 Filed 06/01/22 Page 36 of 67




(2) possess with intent to distribute controlled substances, aiding and

abetting in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A)(ii) and 18

U.S.C. §2.

      135. As a direct and proximate result of Defendants’ deliberate

falsehoods and reckless disregard for the truth, forfeiture proceedings were

initiated against Plaintiffs pursuant to 21 U.S.C. §853, in which the property

subject to forfeiture included, but was not limited to: (a) $159,607.00 in U.S.

Currency; (b) $241,223.00 in U.S. Currency; (c) $2,474.00 in U.S.

Currency; (d) $40,000.00 in U.S. Currency; and (e) a 9mm pistol, 2

magazines and ammunition.

      136. As a direct and proximate result of Defendants’ deliberate

falsehoods and reckless disregard for the truth, state forfeiture proceedings

were initiated against Plaintiffs in which the property subject to forfeiture

included, but was not limited to: (a) two (2) 2016 GMC Yukon vehicles; (b)

2017 GMC Acadia vehicle; (c) 2018 GMC Yukon vehicle; (d) 2009 Dodge

Nitro vehicle; (e) $40,000.00 in U.S. Currency; (f) $773.00 in U.S.

Currency; (g) $1,602.00 in U.S. Currency; (h) $2,474.00 in U.S. Currency;

(i) $470.00 in U.S. Currency; (j) $1,595.00 in U.S. Currency; (k)

$241,233.00 in U.S. Currency; (l) $394.00 in U.S. Currency; (m)

$18,400.00 in U.S. Currency; (n) $135,442.00 in U.S. Currency; and (o)


                                      35
Case 4:21-cv-11312-MFL-CI ECF No. 38, PageID.508 Filed 06/01/22 Page 37 of 67




$4,173.00 in U.S. Currency.

      137. As a direct and proximate result of Defendants’ deliberate

falsehoods and reckless disregard for the truth, Plaintiffs’ individual and

business checking accounts were frozen.

      138. Subsequently, the DEA conducted a laboratory analysis of all

substances seized at the time of the October 22, 2018 raid and concluded

that none of the substances were narcotics.

             Dismissal of Indictment and Release of Assets

      139. On June 4, 2019, the federal prosecutor informed Plaintiffs’

defense counsel that the lab results came back negative for narcotics and

admitted that the current indictment could not “remain as is” and stated that

she would consider whether to amend.

      140. On June 26, 2019, the federal government moved to dismiss

the indictment “for the reason that the ends of justice would best be served

by [the] dismissal.”

      141. On June 27, 2019, the indictment was dismissed.

      142. On August 12, 2020, Wayne County Circuit Court Judge

Mariam Bazzi entered an order unfreezing Plaintiffs’ individual and

business checking accounts.




                                     36
Case 4:21-cv-11312-MFL-CI ECF No. 38, PageID.509 Filed 06/01/22 Page 38 of 67




       Defendants Gaines, Mosley and Williams are Included on
                 Wayne County’s Giglio-Brady List

      143. In July 2020, the Wayne County Prosecutor's Office contacted

all local Police Chiefs, representatives from the Wayne County Sheriff's

Office, Michigan State Police, and Federal agencies for a list of their

current and former officers that have committed offenses detailed in Giglio

v United States, 405 U.S. 150 (1972) that involve theft, dishonesty, fraud,

false statement, bias, and bribery.2

      144. Pursuant to Brady v. Maryland, 373 U.S. 83 (1963), the

prosecutors are charged with informing defense attorneys when an officer

on their witness list for a case has Giglio issues or concerns; further, police

officers also have constitutional duties under Brady.

      145. Consequently, in July of 2020, Wayne County Prosecutor Kym

Worthy released a Giglio-Brady list of current and former officers that have

committed offenses that involve theft, dishonesty, fraud, false statement,

bias, and bribery.

      146. Wayne County Prosecutor Kym Worthy released an updated

Giglio-Brady list in December of 2020.

      147. There are currently 52 officers on Wayne County’s Giglio-Brady


2
 These are offenses that can be considered by fact finders in a trial when
credibility is being assessed.

                                       37
Case 4:21-cv-11312-MFL-CI ECF No. 38, PageID.510 Filed 06/01/22 Page 39 of 67




list.

        148.   Defendant Joi Gaines is on Wayne County’s Giglio-Brady list

for “False Statement.”

        149. Defendant Michael Mosley is on Wayne County’s Giglio-Brady

list for “Fed. Conviction, Bribery.”

        150. Defendant Lamar Williams is on Wayne County’s Giglio-Brady

list for “False Statement.”

    Plaintiffs’ Damages Due to Defendants’ Constitutional Violations

        151. As a direct and proximate result of Defendants’ deliberate

falsehoods and reckless disregard for the truth, Plaintiffs were unlawfully

arrested, imprisoned, maliciously prosecuted and deprived of due process,

for a crime that Defendants knew Plaintiffs did not commit.

        152. As a direct and proximate result of Defendants’ deliberate

falsehoods and reckless disregard for the truth, Plaintiffs were arrested and

held at the Wayne County Jail from October 22, 2018 to November 8, 2018.

        153. As a direct and proximate result of Defendants’ deliberate

falsehoods and reckless disregard for the truth, Plaintiffs’ had substantial

personal assets, automobiles, and large sums of cash seized from their

businesses and their personal residences.

        154. As a direct and proximate result of Defendants’ deliberate


                                       38
Case 4:21-cv-11312-MFL-CI ECF No. 38, PageID.511 Filed 06/01/22 Page 40 of 67




falsehoods and reckless disregard for the truth, Plaintiffs were deprived of

the use of the seized assets for a significant time period while they were

forced to defend forfeiture proceedings and their accounts were frozen until

August 12, 2020.

      155. As a direct and proximate result of Defendants’ deliberate

falsehoods and reckless disregard for the truth, Plaintiffs have sustained

substantial loss of business income, incurred significant attorney fees and

costs for the defense of the frivolous criminal charges and forfeiture

proceedings prosecuted against them, and have sustained mental

anguish,embarrassment, humiliation and/or mortification.

                                 COUNT I
          42 U.S.C. 1983 - UNREASONABLE SEARCH, SEIZURE
                       - INDIVIDUAL DEFENDANTS

      156. Plaintiffs hereby incorporate by reference each of the

allegations contained in previous paragraphs as though fully set forth

herein.

      157. At all times relevant, Plaintiffs had a clearly established right to

be free from unreasonable searches and seizures pursuant to the Fourth

Amendment       and/or   Fourteenth   Amendment to the United States

Constitution.

      158. At all times relevant, as City of Detroit Police Officers acting


                                      39
Case 4:21-cv-11312-MFL-CI ECF No. 38, PageID.512 Filed 06/01/22 Page 41 of 67




under color of law, the Defendant officers were required to obey the laws of

the United States, including those laws identified under the Fourth and/or

Fourteenth Amendment to the United States Constitution.

     159. In violation of Plaintiffs’ clearly established constitutionally

protected rights under the Fourth and/or Fourteenth Amendment to the

United States Constitution, the Defendant officers unlawfully and without

justification, unreasonably and unlawfully obtained a search warrant,

searched, seized and detained Plaintiffs, as well as their personal and

business assets.

     160. Defendant Morrison intentionally and deliberately, or with a

reckless disregard for the truth, made false statements, material

misrepresentations and/or omissions in his October 22, 2018 and October

23, 2018 affidavits in support of the search warrants in order to justify the

unreasonable searches, seizures, and detainment of Plaintiffs and the

seizure of their personal and business assets.

     161. All of the Defendant officers intentionally and deliberately, or

with a reckless disregard for the truth, made false statements, material

misrepresentations and/or omissions in their reports in order to justify the

unreasonable search, seizure, and detainment of Plaintiffs and seizure of

their personal and business assets.


                                      40
Case 4:21-cv-11312-MFL-CI ECF No. 38, PageID.513 Filed 06/01/22 Page 42 of 67




      162. Defendant Rodriguez intentionally and deliberately, or with a

reckless disregard for the truth, made false statements, material

misrepresentations and/or omissions in his October 24, 2018 affidavit in

support of the federal criminal complaint against Plaintiffs.

      163. All of the Defendant officers conspired to make false

statements, material misrepresentations and/or omissions in their reports in

order to justify the unreasonable search, seizure, and detainment of

Plaintiffs and seizure of their personal and business assets in violation of

their clearly established constitutionally protected rights under the Fourth

and/or Fourteenth Amendment to the United States Constitution.

      164. The Defendant officers’ search, seizure, detainment and

imprisonment of Plaintiffs, as well as the seizure of Plaintiffs' personal and

business assets, when they knew or should have known that they lacked

justification for the same, was in violation of clearly established law, and the

Defendant officers are not entitled to qualified immunity.

      165. The     intentional    search,    seizure,   restraint,   detention,

confinement and imprisonment of Plaintiffs, as well as the seizure of

Plaintiffs' personal and business assets, was unreasonable and deprived

them of their personal liberty and/or freedom of movement against their will.

      166. The unlawful and unreasonable search and seizure of Plaintiffs


                                      41
Case 4:21-cv-11312-MFL-CI ECF No. 38, PageID.514 Filed 06/01/22 Page 43 of 67




without probable cause by Defendants amounted to a violation of Plaintiffs’

rights under the Fourth and/or Fourteenth Amendment of the United States

Constitution, and those rights were clearly established at all times relevant

to this cause of action, and which a reasonable person and police officer in

the Defendants’ position would have known.

     167. Following the lack of probable cause to conduct a search in the

first place, Defendants at all times knew there was no evidence of a crime

but still arrested Plaintiffs after the falsely-concocted search, which

amounts to a violation of Plaintiffs’ rights under the Fourth and/or

Fourteenth Amendment of the United States Constitution, and those rights

were clearly established at all times relevant to this cause of action, and

which a reasonable person and police officer in the Defendants’ position

would have known.

     168.      As a direct and proximate result of the actions of the

Defendant officers, Plaintiffs were arrested, confined and imprisoned

against their will and were deprived of the use of personal and business

assets that were wrongfully seized.

     169. Under the Fourth and/or Fourteenth Amendment, Plaintiffs, as

arrestees prior to arraignment, were unlawfully seized.

     170. In addition to being in violation of clearly established law, the


                                      42
Case 4:21-cv-11312-MFL-CI ECF No. 38, PageID.515 Filed 06/01/22 Page 44 of 67




Defendant officers’ actions were objectively unreasonable under the totality

of the circumstances and the Defendant officers are not entitled to qualified

immunity.

      171. Pursuant to 42 U.S.C. §§ 1983, 1985 and 1988, the Defendant

officers are liable to Plaintiffs for all damages allowed under federal law and

the Michigan damages statutes. To the extent that the damages allowable

and/or recoverable under one or both of the statutes are deemed

insufficient to fully compensate Plaintiffs and/or to punish or deter the

Defendants, this Court must order additional damages to be allowed so as

to satisfy any and all such inadequacies.

      172. The conduct of the Defendant officers was, and remains,

extreme and outrageous, subjecting the Defendant officers to punitive

damages.

      173. As a direct and proximate result of the Defendant officers’

violation of Plaintiffs’ clearly established constitutionally protected rights,

Plaintiffs have suffered and will continue to suffer damage into the future,

including but not limited to:

            a. Substantial loss of business income;

            b. Attorney fees and costs incurred in the defense of the
               frivolous criminal charges and forfeiture proceedings
               prosecuted against them;


                                      43
Case 4:21-cv-11312-MFL-CI ECF No. 38, PageID.516 Filed 06/01/22 Page 45 of 67




           c. Loss of use of funds on deposit in bank accounts that
              were frozen;

           d. Embarrassment, humiliation and/or mortification;

           e. Mental anguish;

           f. Punitive damages;

           g. Exemplary damages; and,

           h. All other damages properly recoverable under law.

     WHEREFORE, Plaintiffs, Steven and Alexander Putrus, respectfully

request this Honorable Court enter a judgment in their favor against all of

the Defendant officers and award compensatory and punitive damages in

whatever amount the jury may determine, plus costs, interest, and actual

attorney fees.

                              COUNT II
          42 U.S.C. 1983 - UNLAWFUL DETENTION, ARREST,
                 IMPRISONMENT AND CONFINEMENT
                     - INDIVIDUAL DEFENDANTS

     174. Plaintiffs hereby incorporate by reference each of the

allegations contained in previous paragraphs as though fully set forth

herein.

     175. At all times relevant, Plaintiffs had a clearly established right to

be free from unreasonable unlawful seizures, arrest, and detention

pursuant to the Fourth and/or Fourteenth Amendment to the United States


                                     44
Case 4:21-cv-11312-MFL-CI ECF No. 38, PageID.517 Filed 06/01/22 Page 46 of 67




Constitution.

      176. Plaintiffs had the following clearly established rights pursuant to

the Fourth and Fourteenth Amendments:

      a.   to be free from arrest without probable cause
      b.   to be free from unreasonable search and seizure
      c.   to be free from false imprisonment
      d.   to be free from deprivation of liberty without due process
      e.   to be free from wrongful retention
      f.   to be from warrantless arrests or arrests based on false
      warrants


      177. At all times relevant, as City of Detroit Police Officers acting

under color of law, the Defendant officers were required to obey the laws of

the United States, including those laws identified under the Fourth and/or

Fourteenth Amendment to the United States Constitution.

      178. In violation of Plaintiffs’ clearly established constitutionally

protected rights under the Fourth and/or Fourteenth Amendment to the

United States Constitution, the Defendant officers unlawfully and without

justification, unreasonably and unlawfully searched, seized and detained

Plaintiffs, as well as their personal and business assets.

      179. Defendant Morrison intentionally and deliberately, or with a

reckless disregard for the truth, made false statements, material

misrepresentations and/or omissions in his October 22, 2018 and October

23, 2018 affidavits in support of the search warrants in order to justify the

                                      45
Case 4:21-cv-11312-MFL-CI ECF No. 38, PageID.518 Filed 06/01/22 Page 47 of 67




unreasonable searches, seizures, and detainment of Plaintiffs and the

seizure of their personal and business assets.

      180. All of the Defendant officers intentionally and deliberately, or

with a reckless disregard for the truth, made false statements, material

misrepresentations and/or omissions in their reports in order to justify the

unreasonable search, seizure, and detainment of Plaintiffs and seizure of

their personal and business assets.

      181. Defendant Rodriguez intentionally and deliberately, or with a

reckless disregard for the truth, made false statements, material

misrepresentations and/or omissions in his October 24, 2018 affidavit in

support of the federal criminal complaint against Plaintiffs.

      182. All of the Defendant officers conspired to make false

statements, material misrepresentations and/or omissions in their reports in

order to justify the unreasonable search, seizure, arrest and detainment of

Plaintiffs and seizure of their personal and business assets in violation of

their clearly established constitutionally protected rights under the Fourth

and/or Fourteenth Amendment to the United States Constitution.

      183. The Defendant officers’ search, seizure, detainment and

imprisonment of Plaintiffs, as well as the seizure of Plaintiffs' personal and

business assets, when they knew or should have known that they lacked


                                      46
Case 4:21-cv-11312-MFL-CI ECF No. 38, PageID.519 Filed 06/01/22 Page 48 of 67




justification for the same, was in violation of clearly established law, and the

Defendant officers are not entitled to qualified immunity.

      184. The intentional seizure, restraint, detention, confinement and

imprisonment of Plaintiffs, as well as the seizure of Plaintiffs' personal and

business assets, was unreasonable and deprived them of their personal

liberty and/or freedom of movement against their will.

      185. Plaintiff’s arrest, detention and retention as described herein

were undertaken by Defendants without probable cause and without regard

to any legitimate law enforcement interest.

      186. Defendants’ failure to properly investigate and subsequent

arrest of Plaintiffs and detention/retention of Plaintiffs in the face of

repeated protests and significant exonerating evidence constituted

deliberate conduct contravening Plaintiffs’ clearly established Fourth and/or

Fourteenth Amendment rights.

      187. In addition to the initial unlawful arrest and deprivation of

personal liberty and freedom being unreasonable, the continued detention

and investigation were unreasonable and unlawful.

      188.     As a direct and proximate result of the actions of the

Defendant officers, Plaintiffs were confined and imprisoned against their will

and were deprived of the use of personal and business assets that were


                                      47
Case 4:21-cv-11312-MFL-CI ECF No. 38, PageID.520 Filed 06/01/22 Page 49 of 67




wrongfully seized.

      189. Under the Fourth and/or Fourteenth Amendment, Plaintiffs, as

arrestees prior to arraignment, were unlawfully seized.

      190. In addition to being in violation of clearly established law, the

Defendant officers’ actions were objectively unreasonable under the totality

of the circumstances and the Defendant officers are not entitled to qualified

immunity.

      191. Pursuant to 42 U.S.C. §§ 1983, 1985 and 1988, the Defendant

officers are liable to Plaintiffs for all damages allowed under federal law and

the Michigan damages statutes. To the extent that the damages allowable

and/or recoverable under one or both of the statutes are deemed

insufficient to fully compensate Plaintiffs and/or to punish or deter the

Defendants, this Court must order additional damages to be allowed so as

to satisfy any and all such inadequacies.

      192. The conduct of the Defendant officers was, and remains,

extreme and outrageous, subjecting the Defendant officers to punitive

damages.

      193. As a direct and proximate result of the Defendant officers’

violation of Plaintiffs’ clearly established constitutionally protected rights,

Plaintiffs have suffered and will continue to suffer damage into the future,


                                      48
Case 4:21-cv-11312-MFL-CI ECF No. 38, PageID.521 Filed 06/01/22 Page 50 of 67




including but not limited to:

            i. Substantial loss of business income;

            j. Attorney fees and costs incurred in the defense of the
               frivolous criminal charges and forfeiture proceedings
               prosecuted against them;

            k. Loss of use of funds on deposit in bank accounts that
               were frozen;

            l. Embarrassment, humiliation and/or mortification;

            m. Mental anguish;

            n. Punitive damages;

            o. Exemplary damages; and,

            p. All other damages properly recoverable under law.

      WHEREFORE, Plaintiffs, Steven and Alexander Putrus, respectfully

request this Honorable Court enter a judgment in their favor against all of

the Defendant officers and award compensatory and punitive damages in

whatever amount the jury may determine, plus costs, interest, and actual

attorney fees.

                                  COUNT III
                 42 U.S.C. 1983 - MALICIOUS PROSECUTION
                          INDIVIDUAL DEFENDANTS

      194. Plaintiffs hereby incorporate by reference each of the

allegations contained in previous paragraphs as though fully set forth

herein.

                                     49
Case 4:21-cv-11312-MFL-CI ECF No. 38, PageID.522 Filed 06/01/22 Page 51 of 67




     195. At all times relevant, Plaintiffs had a clearly established right to

be free from criminal prosecution without probable cause pursuant to the

Fourth Amendment to the United States Constitution.

     196. At all times relevant, as City of Detroit Police Officers acting

under color of law, the Defendant officers were required to obey the laws of

the United States, including those laws identified under the Fourth

Amendment to the United States Constitution.

     197. In violation of Plaintiffs’ clearly established constitutionally

protected rights under the Fourth Amendment to the United States

Constitution, the Defendant officers subjected Plaintiffs to an unjustified,

malicious criminal prosecution.

     198. The Defendant officers influenced and/or participated in the

prosecution against Plaintiffs when they intentionally and deliberately, or

with a reckless disregard for the truth, made false statements, material

misrepresentations and/or omissions as outlined above.

     199. There was no probable cause to prosecute Plaintiffs.

     200. The Defendant officers acted in concert to accomplish the

unlawful prosecution of Plaintiffs without probable cause.

     201. The Defendant officers acted together to prosecute Plaintiffs for

alleged crimes for which Defendants knew or had reason to know were


                                     50
Case 4:21-cv-11312-MFL-CI ECF No. 38, PageID.523 Filed 06/01/22 Page 52 of 67




without probable cause.

      202. Plaintiffs suffered a deprivation of liberty as a consequence of

the frivolous legal proceedings because they were imprisoned and were

deprived of the use of personal and business assets that were wrongfully

seized.

      203. The criminal proceedings were ultimately resolved in Plaintiffs’

favor when the DEA confirmed that, contrary to the Defendant officers’

false assertions, none of the substances seized at the time of the October

22, 2018 raid were illegal drugs and the indictment was dismissed and the

Plaintiffs’ seized assets were eventually returned.

      204. In addition to being in violation of clearly established law, the

Defendant officers’ actions were objectively unreasonable under the totality

of the circumstances and the Defendant officers are not entitled to qualified

immunity.

      205. Pursuant to 42 U.S.C. §§ 1983, 1985 and 1988, the Defendant

officers are liable to Plaintiffs for all damages allowed under federal law and

the Michigan damages statutes. To the extent that the damages allowable

and/or recoverable under one or both of the statutes are deemed

insufficient to fully compensate Plaintiffs and/or to punish or deter the

Defendants, this Court must order additional damages to be allowed so as


                                      51
Case 4:21-cv-11312-MFL-CI ECF No. 38, PageID.524 Filed 06/01/22 Page 53 of 67




to satisfy any and all such inadequacies.

      206. The conduct of the Defendant officers was, and remains,

extreme and outrageous, subjecting Defendants to punitive damages.

      207. As a direct and proximate result of the Defendant officers’

violation of Plaintiffs’ clearly established constitutionally protected rights,

Plaintiffs have suffered and will continue to suffer damage into the future,

including but not limited to:

            a. Substantial loss of business income;

            b. Attorney fees and costs incurred in the defense of the
               frivolous criminal charges and forfeiture proceedings
               prosecuted against them;

            c. Loss of use of funds on deposit in bank accounts that
               were frozen;

            d. Embarrassment, humiliation and/or mortification;

            e. Mental anguish;

            f. Punitive damages;

            g. Exemplary damages; and,

            h. All other damages properly recoverable under law.

      WHEREFORE, Plaintiffs, Steven and Alexander Putrus, respectfully

request this Honorable Court enter a judgment in their favor against the

Defendant officers and award compensatory and punitive damages in




                                      52
Case 4:21-cv-11312-MFL-CI ECF No. 38, PageID.525 Filed 06/01/22 Page 54 of 67




whatever amount the jury may determine, plus costs, interest, and actual

attorney fees.

                                  COUNT IV
                 42 U.S.C. 1983 - DENIAL OF DUE PROCESS
                         INDIVIDUAL DEFENDANTS

      208. Plaintiffs hereby incorporate by reference each of the

allegations contained in previous paragraphs as though fully set forth

herein.

      209. At all times relevant, Plaintiffs had a clearly established right to

be free from deprivation of life, liberty, or property pursuant to the Fifth and

Fourteenth Amendments to the United States Constitution.

      210. At all times relevant, as City of Detroit Police Officers acting

under color of law, the Defendant officers were required to obey the laws of

the United States, including those laws identified under the Fifth and

Fourteenth Amendments to the United States Constitution.

      211. In violation of Plaintiffs’ clearly established constitutionally

protected   rights   under   the   Fifth   and/or   Fourteenth   Amendments

Amendment to the United States Constitution, the Defendant officers

intentionally and deliberately, or with a reckless disregard for the truth,

made false statements, material misrepresentations and/or omissions as

outlined above.


                                      53
Case 4:21-cv-11312-MFL-CI ECF No. 38, PageID.526 Filed 06/01/22 Page 55 of 67




      212. Defendants’ deliberate falsehoods, reckless disregard for the

truth and omission of information, were material to the arrest, detention and

indictments of Plaintiffs.

      213. There was no probable cause to prosecute Plaintiffs.

      214. Defendants’ deliberate falsehoods, reckless disregard for the

truth and omission of information prejudiced the Plaintiffs.

      215. The Defendant officers acted in concert to accomplish the

unlawful prosecution of Plaintiffs without probable cause.

      216. The Defendant officers acted together to prosecute Plaintiffs for

alleged crimes for which Defendants knew or had reason to know were

without probable cause.

      217. Defendants at all time knew of the lawful bases which Plaintiffs

operated their business, yet despite that, withheld critical information from

their search warrant(s) and probable cause statements and also falsified

(or recklessly completed) the warrant(s) that led to both the search and

arrest of Plaintiffs.

      218. In addition to being in violation of clearly established law, the

Defendant officers’ actions were objectively unreasonable under the totality

of the circumstances and the Defendant officers are not entitled to qualified

immunity.


                                      54
Case 4:21-cv-11312-MFL-CI ECF No. 38, PageID.527 Filed 06/01/22 Page 56 of 67




      219. Pursuant to 42 U.S.C. §§ 1983, 1985 and 1988, the Defendant

officers are liable to Plaintiffs for all damages allowed under federal law and

the Michigan damages statutes. To the extent that the damages allowable

and/or recoverable under one or both of the statutes are deemed

insufficient to fully compensate Plaintiffs and/or to punish or deter the

Defendants, this Court must order additional damages to be allowed so as

to satisfy any and all such inadequacies.

      220. The conduct of the Defendant officers was, and remains,

extreme and outrageous, subjecting Defendants to punitive damages.

      221. As a direct and proximate result of the Defendant officers’

violation of Plaintiffs’ clearly established constitutionally protected rights,

Plaintiffs have suffered and will continue to suffer damage into the future,

including but not limited to:

            a. Substantial loss of business income;

            b. Attorney fees and costs incurred in the defense of the
               frivolous criminal charges and forfeiture proceedings
               prosecuted against them;

            c. Loss of use of funds on deposit in bank accounts that
               were frozen;

            d. Embarrassment, humiliation and/or mortification;

            e. Mental anguish;

            f. Punitive damages;

                                      55
Case 4:21-cv-11312-MFL-CI ECF No. 38, PageID.528 Filed 06/01/22 Page 57 of 67




            g. Exemplary damages; and,

            h. All other damages properly recoverable under law.

      WHEREFORE, Plaintiffs, Steven and Alexander Putrus, respectfully

request this Honorable Court enter a judgment in their favor against the

Defendant officers and award compensatory and punitive damages in

whatever amount the jury may determine, plus costs, interest, and actual

attorney fees.

                            COUNT IV
    42 U.S.C. 1983 - CUSTOM OR PRACTICE OF TOLERATING THE
           VIOLATION OF FEDERAL RIGHTS - DEFENDANT CITY

      222. Plaintiffs hereby incorporate by reference each of the

allegations contained in previous paragraphs as though fully set forth

herein.

      223. At all times relevant, there was a clear and consistent pattern

of corruption and misconduct within the City of Detroit Police Department’s

narcotics operations, which included, but was not limited to, routinely

falsifying affidavits to support search warrants, falsely accusing citizens of

possessing and/or selling drugs, as well as unlawfully stealing and/or

seizing property obtained from searches.

      224. The above-described pattern of corruption and misconduct

within the City of Detroit Police Department’s narcotics operations was so

                                      56
Case 4:21-cv-11312-MFL-CI ECF No. 38, PageID.529 Filed 06/01/22 Page 58 of 67




pervasive that there have been a series of internal probes.3

      225.   Former Detroit Police Officer Charles Flanagan ran the former

Narcotics Section from 2013 to 2015 and stated that, when he took over

the unit, he found “problems that existed long before [he] got there.”4

      226. Flanagan reported to Chief Craig that he had uncovered

numerous issues of corruption, including falsification of evidence, and that

most of the problems that he encountered had existed for years.

      227. On August 22, 2019, a team of Detroit Police investigators and

FBI agents seized records and computer data as part of an ongoing

internal probe into allegations of corruption in the department's drug

operations. See footnote 1, supra.

      228. Detroit Police Chief James Craig stated that he initiated the

August 22, 2019 seizure due to corruption that has long been part of the

narcotics operation. Id.

      229. Detroit Police Chief James Craig disbanded the former

narcotics unit in July of 2014 due to systemic violations and renamed the


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https://www.detroitnews.com/story/news/local/detroit-city/2019/08/22/detroit
-cops-seize-drug-records-amid-internal-probe/2084344001/
4

https://www.detroitnews.com/story/news/local/detroit-city/2019/12/11/detroit
-police-probe-uncovers-widespread-alleged-corruption-drug-unit/43983210
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                                      57
Case 4:21-cv-11312-MFL-CI ECF No. 38, PageID.530 Filed 06/01/22 Page 59 of 67




narcotics operation the “Major Violators Section” due to the rampant

corruption. Id.

      230. Following the 2014 disbandment, the corruption of the Detroit

Police Department’s narcotics operation continued. Id.

      231. The corruption included officers planting evidence, lying to

prosecutors in search warrant affidavits, robbing dope dealers and

embezzling funds. See footnote 2, supra.

      232. Detroit Police Chief James Craig has admitted that there is a

pattern and practice of criminal misconduct in the narcotics unit. Id.

      233. At all times relevant, the City of Detroit, through its appointed

officials, employees, agents and/or representatives, knew or should have

known that there was a clear and consistent pattern of corruption and

misconduct within the City of Detroit Police Department’s narcotics

operations    as described in the preceding paragraph and that such

corruption   and    misconduct     violated   citizens’   clearly   established

constitutionally protected rights to due process and to be free from criminal

prosecution without probable cause.

      234. At all times relevant, the City of Detroit was on notice that there

was a clear and persistent pattern of corruption and misconduct within the

City of Detroit Police Department’s narcotics operations as described in the


                                      58
Case 4:21-cv-11312-MFL-CI ECF No. 38, PageID.531 Filed 06/01/22 Page 60 of 67




preceding paragraph and that such corruption and misconduct violated

citizens’ clearly established constitutionally protected rights to due process

and to be free from criminal prosecution without probable cause.

      235. For many years before the subject incident, the City of Detroit

and its policy makers acquiesced in and tolerated the corruption and

misconduct within the narcotics’ unit that gave rise to the narcotics officers

routinely falsifying affidavits to support search warrants and falsely

accusing citizens of possessing and/or selling drugs, which allowed the

narcotics officers to continue to engage in the unlawful behavior.

      236. At all times relevant, the City of Detroit, through its appointed

officials, employees, agents and/or representatives, knew or should have

known that the training and supervision of its narcotics officers was

inadequate for the tasks that the narcotics officers were performing, as

described in the preceding paragraphs.

      237. At all times relevant to this lawsuit, the City of Detroit had a

custom or practice within its narcotics’ unit of failing to adequately train

and/or supervise its officers.

      238. These failures to adequately train and/or supervise were

evident by the years and years of narcotics officers’ corruption and

misconduct that went unnoticed and undisciplined by the City of Detroit.


                                      59
Case 4:21-cv-11312-MFL-CI ECF No. 38, PageID.532 Filed 06/01/22 Page 61 of 67




      239. The City of Detroit’s custom or practice of tolerating its narcotics

officers' corruption and misconduct, as well as its failure to adequately train

and/or supervise, acted as the “moving force” behind the deprivation of

Plaintiffs’ clearly established constitutional rights.

      240. There is a direct causal link between the City of Detroit’s

customs and/or practices and the injuries that Plaintiffs have suffered.

      241. As a direct and proximate result of the City of Detroit’s custom

or practice of tolerating the narcotics officers’ violation of the citizens’

clearly established constitutionally protected rights to due process and to

be free from criminal prosecution without probable cause, the individual

Defendants subjected Plaintiffs to an unjustified, malicious criminal

prosecution and deprived Plaintiffs of due process when they intentionally

and deliberately, or with a reckless disregard for the truth, made false

statements, material misrepresentations and/or omissions in the search

warrant and affidavit.

      242. As a direct and proximate result of the City of Detroit’s custom

or practice of tolerating the officers’ violation of the citizens’ clearly

established constitutionally protected rights to due process and to be free

from criminal prosecution without probable cause, Plaintiffs have suffered

and will continue to suffer damage into the future, including but not limited


                                        60
Case 4:21-cv-11312-MFL-CI ECF No. 38, PageID.533 Filed 06/01/22 Page 62 of 67




to:

           a. Substantial loss of business income;

           b. Attorney fees and costs incurred in the defense of the
              frivolous criminal charges and forfeiture proceedings
              prosecuted against them;

           c. Loss of use of funds on deposit in bank accounts that
              were frozen;

           d. Embarrassment, humiliation and/or mortification;

           e. Mental anguish;

           f. Punitive damages;

           g. Exemplary damages; and,

           h. All other damages properly recoverable under law.

      WHEREFORE, Plaintiffs, Steven and Alexander Putrus, respectfully

request this Honorable Court enter a judgment in their favor against

Defendant City of Detroit and award compensatory and punitive damages

in whatever amount the jury may determine, plus costs, interest, and actual

attorney fees.

                              COUNT V
                 STATE LAW MALICIOUS PROSECUTION
                      INDIVIDUAL DEFENDANTS

      243. Plaintiffs hereby incorporate by reference each of the

allegations contained in previous paragraphs as though fully set forth

herein.

                                     61
Case 4:21-cv-11312-MFL-CI ECF No. 38, PageID.534 Filed 06/01/22 Page 63 of 67




      244. The Defendant officers influenced and/or participated in the

prosecution against Plaintiffs when they intentionally and deliberately, or

with a reckless disregard for the truth, made false statements, material

misrepresentations and/or omissions as outlined above.

      245. The Defendant officers instituted and initiated the allegations of

criminal activity against Plaintiffs without probable cause and with malice or

with a primary purpose other than bringing about justice through the proper

adjudication of the claim.

      246. The Defendant officers pursued these actions knowing the

allegations were inconsistent, without corroboration, and had been tainted

by improper means.

      247. The criminal proceedings were ultimately resolved in Plaintiffs’

favor when the DEA confirmed that, contrary to the Defendant officers’

false assertions, none of the substances seized at the time of the October

22, 2018 raid were illegal drugs and the indictment was dismissed and the

Plaintiffs’ seized assets were eventually returned.

      248. As a direct and proximate result of the Defendant officers’

misconduct, Plaintiffs have suffered and will continue to suffer damage into

the future, including but not limited to:

            a. Substantial loss of business income;


                                        62
Case 4:21-cv-11312-MFL-CI ECF No. 38, PageID.535 Filed 06/01/22 Page 64 of 67




            b. Attorney fees and costs incurred in the defense of the
               frivolous criminal charges and forfeiture proceedings
               prosecuted against them;

            c. Loss of use of funds on deposit in bank accounts that
               were frozen;

            d. Embarrassment, humiliation and/or mortification;

            e. Mental anguish;

            f. Punitive damages;

            g. Exemplary damages; and,

            h. All other damages properly recoverable under law.

     WHEREFORE, Plaintiffs, Steven and Alexander Putrus, respectfully

request this Honorable Court enter a judgment in their favor against the

Defendant officers and award compensatory damages in whatever amount

the jury may determine, plus costs, interest, and actual attorney fees.

                             COUNT VI
          INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                     INDIVIDUAL DEFENDANTS

     249. Plaintiffs hereby incorporate by reference each of the

allegations contained in previous paragraphs as though fully set forth

herein.

     250. The Defendant officers intentionally and deliberately, or with a

reckless disregard for the truth, made false statements, material

misrepresentations and/or omissions in order to justify the unreasonable

                                     63
Case 4:21-cv-11312-MFL-CI ECF No. 38, PageID.536 Filed 06/01/22 Page 65 of 67




search, seizure, and detainment of Plaintiffs and the seizure of their

personal and business assets.

      251. The actions of Defendant officers were intentional, extreme,

and outrageous.

      252. Plaintiffs suffered severe emotional distress as a result of the

unreasonable search, seizure, and detainment of Plaintiffs and the seizure

of their personal and business assets.

      253. As a direct and proximate result of the Defendant officers’

extreme and outrageous misconduct, Plaintiffs have suffered and will

continue to suffer damage into the future, including but not limited to:

            a. Substantial loss of business income;

            b. Attorney fees and costs incurred in the defense of the
               frivolous criminal charges and forfeiture proceedings
               prosecuted against them;

            c. Loss of use of funds on deposit in bank accounts that
               were frozen;

            d. Embarrassment, humiliation and/or mortification;

            e. Mental anguish;

            f. Punitive damages;

            g. Exemplary damages; and,

            h. All other damages properly recoverable under law.




                                      64
Case 4:21-cv-11312-MFL-CI ECF No. 38, PageID.537 Filed 06/01/22 Page 66 of 67




      WHEREFORE, Plaintiffs, Steven and Alexander Putrus, respectfully

request this Honorable Court enter a judgment in their favor against the

Defendant officers and award compensatory in whatever amount the jury

may determine, plus costs, interest, and actual attorney fees.



                                          Respectfully submitted,

                                          /s/ Andrew J. Laurila
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                                          Giroux Trial Attorneys
                                          Attorneys for Plaintiffs
                                          28588 Northwestern Highway, Suite 100
                                          Southfield, Michigan 48034
                                          (248) 531-8665
Dated: April 18, 2022                     alaurila@greatMIattorneys.com



                              JURY DEMAND

      Plaintiffs, Steven and Alexander Putrus, through their attorneys,

Giroux Trial Attorneys, P.C., hereby demand Trial by Jury in this matter.



                                          Respectfully submitted,
                                          /s/ Andrew J. Laurila
                                          Andrew J. Laurila (P78880)
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                                     65
Case 4:21-cv-11312-MFL-CI ECF No. 38, PageID.538 Filed 06/01/22 Page 67 of 67




                                     66
